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 7
 8                    IN THE UNITED STATES DISTRICT COURT

 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )
                                   ) CR S-03-371 MCE
12                    Plaintiff,   )
                                   ) STIPULATION AND ORDER
13                 v.              ) TO CONTINUE STATUS CONFERENCE/
                                   ) ENTRY OF PLEA
14   ERIC NEWBORN,                 )
                                   ) DATE: October 2, 2008
15                    Defendant.   ) TIME: 9:00 a.m.
     ______________________________) CTRM: Hon. Morrison C. England, Jr.
16

17        The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District

19   of California, and William S. Wong, Assistant United States
20   Attorney, and Willliam Bonham, counsel for the defendant Eric

21   Newborn, stipulate and request that the Court continue the status
22   conference/entry of plea in this case from September 11, 2008, to

23   October 2, 2008, at 9:00 a.m.
24        Counsels for the government and the defendant are in good faith

25   negotiations to resolve the case.         Because the defendant is
26   currently serving a state sentence from Kern County, the parties

27   need additional time to obtain court documents to verify the case
28   number and the sentence imposed in order to complete the

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 1   negotiations for the plea agreement.
 2        Based upon the foregoing, the parties agree that time under the

 3   Speedy Trial Act be excluded from September 11, 2008, through and
 4   including October 2, 2008, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv)

 5   - reasonable time to prepare and Local Code T-4 - reasonable time
 6   for defense preparation.

 7                                               Respectfully submitted,
 8                                               McGREGOR W. SCOTT
                                                 United States Attorney
 9
10   DATED: September 9, 2008          By:       /s/ William S. Wong
                                                 WILLIAM S. WONG
11                                               Assistant U.S. Attorney
12

13   DATED: September 9, 2008          By:       /s/ William Bonham
                                                 WILLIAM BONHAM, Esq.
14                                               Attorney for Defendant

15
     ____________________________________________________________________
16                                   ORDER

17        IT IS SO ORDERED.     Good cause having been shown, the status
18   conference/entry of plea set for September 11, 2008, is vacated and

19   a new date is set for October 2, 2008, at 9:00 a.m.          Time is
20   excluded from September 11, 2008, through and including, October 2,

21   2008, for the foregoing reasons.
22
     Dated: September 10, 2008
23
24                                      _____________________________
                                        MORRISON C. ENGLAND, JR.
25                                      UNITED STATES DISTRICT JUDGE
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